                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                               Plaintiff,

       v.                                                     Case No. 21-CR-198

YSA DIEUDONNÉ,
ALEX MOMPREMIER, and
JEAN ELIOBERT JASME,
      a/k/a “ED1,”
      a/k/a “Eddy One,”
      a/k/a “Tio Loco,”

                               Defendant.



         MOTION TO UNSEAL INDICTMENT AND ARREST WARRANT FOR
             LIMITED PURPOSE OF SECURING THE DEFENDANTS’
                    PRESENCE IN THE UNITED STATES


       The United States of America, by and through its attorneys, Richard G. Frohling, United

States Attorney, and Robert J. Brady, Jr. and Gail J. Hoffman, Assistant United States Attorneys,

hereby requests that the indictment and arrest warrant in this matter be unsealed for the limited

purpose of securing the defendants’ presence in the United States. In support of this motion, the

government states the following:

       1.      On September 28, 2021, Ysa Dieudonné, Alex Mompremier, and Jean Eliobert

Jasme (the defendants) were charged by indictment and warrants were issued for their arrests. The

indictment and arrest warrants were sealed by the Court.

       2.      On March 22, 2022, Haitian authorities arrested defendant Jean Eliobert Jasme

(Jasme) in Haiti.

       3.      The government requests that the indictment and arrest warrant be unsealed as

needed for the purposes of bringing Jasme, or either of his co-defendants if they are later found

outside of the United States, to the United States to face proceedings in this matter. In particular,
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the government requests that it be allowed to disclose the indictment and arrest warrant not only

to domestic law enforcement agencies and governmental entities concerned with this matter, but

also to the concerned foreign law enforcement agencies and governmental entities for the purpose

of securing the defendants’ presence in the United States. The government further requests that

the Court’s order in this matter apply to any disclosures that were necessary to secure Jasme’s

arrest in Haiti on March 22, 2022, or otherwise made prior to the Court’s order on this motion.

       3.      Finally, the government requests that this motion and any resulting order be sealed

until Jasme or one of his co-defendants is brought to this District to face proceedings in this matter

or further order of the Court. There is good cause to believe that public disclosure of this motion

and any resulting order would cause Jasme’s co-defendants, who remain fugitives, to flee from

prosecution and change their pattern of behavior.

       Dated at Milwaukee, Wisconsin, this 28th day of March, 2022.


                                               RICHARD G. FROHLING
                                               United States Attorney


                                       By:     /s/ Robert J. Brady, Jr.
                                               ROBERT J. BRADY, JR.
                                               Assistant United States Attorney
                                               United States Attorney’s Office
                                               Eastern District of Wisconsin
                                               517 East Wisconsin Avenue, Room 530
                                               Milwaukee, Wisconsin 53202
                                               Telephone: (414) 297-1700
                                               Fax: (414) 297-1738
                                               E-Mail: robert.brady@usdoj.gov




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